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 UNITED STATES DISTRICT COURT
 DISTRICT OF NEW JERSEY

   John Doe.
                                                        Case No. 2:21-cv-20706
                 Plaintiff,

         v.

  Baila Sebrow

                 Defendant


        THIS MATTTER having been brought before the court on the motion of the plaintiff,

 and upon notice to the defendant, and the court having reviewed the Memorandum of Law and

 Declaration submitted, and for good cause being shown,

        IT IS on this                 day of                 , 2023, ordered that Plaintiff’s

 motion to strike defendant’s answer is granted and a default is entered against Defendant. This

 matter is set down for an inquest on damages on ___________, 2023.



                                                     _______________________________
                                                     Hon.




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